   Case 19-15714-jkf         Doc 50   Filed 05/28/20 Entered 05/28/20 13:14:52      Desc Main
                                      Document Page 1 of 1



                               UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                           :
         Courtney Stofer                         :       Case No.: 19-15714(JKF)
                                                 :
         Debtor(s)                               :       Chapter 13




                                              ORDER


      AND NOW, this ____ day of                            2020, upon consideration of the Motion to
Reconsider the April 20, 2020 Order Dismissing the instant Bankruptcy matter, it is hereby;


       ORDERED and DECREED that the motion is GRANTED and the Order of this Court dated
April 20, 2020 Dismissing the case is vacated;


          xxxxxxxxxxxxxxxxxxxxx
         FURTHER    ORDERED:




     Date: May 28, 2020
                                                  Hon. Jean K. FitzSimon
